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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA
                                                19-CR-561 (LAP)
       -against-                                11-CV-691 (LAK)

STEVEN DONZIGER,                                    ORDER
                 Defendant.



LORETTA A. PRESKA, UNITED STATES DISTRICT JUDGE:

     Two months ago, the Court entered an order addressing the

possibility of allowing certain witnesses to testify remotely by

video at Mr. Donziger’s upcoming trial.        (Dkt. no. 124.)     That

order stated that for any defense witness who cannot attend

trial in person given the COVID-19 pandemic, “Mr. Donziger may

move to admit [the witness’s] testimony via live video, and the

Court will consider those applications on a case-by-case basis.”

(Dkt. no. 124 at 6.)    Mr. Donziger has indicated that he would

like to have at least nine witnesses testify by video (see dkt.

nos. 153, 166, 180, 182), but, at this point, he has not

supplied enough information for the Court to determine whether

video testimony is warranted for any of his proposed witnesses.

     To allow the Court to make that determination, Mr. Donziger

shall submit a letter by no later than October 26 providing

additional details on (i) the subject matter of each proposed

video witness’s testimony and (ii) proposed procedures for


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ensuring that the testimony is reliable.         With respect to

subject matter, Mr. Donziger must supply enough detail for the

Court to determine whether each witness’s testimony will be

“material” -- i.e., that it will be “highly relevant to a central

issue in the case” or “challenge central aspects of the

government’s allegations.”     United States v. Buck, 271 F. Supp.

3d 619, 622-23 (S.D.N.Y. 2017) (denying motion to introduce

testimony by video when defendant failed to show that the

testimony would be material); United States v. Mostafa, 14 F.

Supp. 3d 515, 521 (S.D.N.Y. 2014) (noting that courts only

permit video testimony at trial when, among other conditions,

“the witness’s testimony is material”).        To avoid revealing his

defense strategy to the prosecution before trial, Mr. Donziger

may make these materiality proffers ex parte and in camera.

     In addition, for each remote witness, Mr. Donziger shall

describe procedures that can be implemented to ensure that the

video testimony has adequate “indicia of reliability.”          See

United States v. Banki, No. 10 Cr. 08 (JFK), 2010 WL 1063453, at

*2 (S.D.N.Y. Mar. 23, 2010).      The Court notes that nine of Mr.

Donziger’s proposed remote witnesses reside outside the United

States and that, ordinarily, the preferred procedure is to have

foreign witnesses give video testimony from inside a U.S.

consulate or embassy.    See, e.g., United States v. Guild, No. 07

Cr. 404 (JCC), 2008 WL 191184, at *4 (S.D.N.Y. Jan. 17, 2008)


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(testimony given before consular officials).        It appears,

however, that this option is not available for Mr. Donziger’s

international witnesses, as the COVID-19 pandemic has disrupted

the operations of the consulates and embassies in the countries

where they live.   (See dkt. no. 180.)      Mr. Donziger shall

nonetheless propose a set of procedures that can be followed for

each witness to ensure that adequate “measures [are] in place to

safeguard the important interests at stake in criminal

proceedings.”   See Guild, 2008 WL 191184, at *3.        While the

Court will not prejudge Mr. Donziger’s proposals, it notes that

the case law reflects a deep skepticism about the reliability of

remote testimony from witnesses who cannot be extradited to the

United States in the event they commit perjury and that several

of Mr. Donziger’s proposed video witnesses live in Ecuador,

which does not permit extradition.       See, e.g., Banki, 2010 WL

1063453, at *2-3 (“Without the teeth of the penalty of perjury,

the oath becomes nothing more than an empty recital.”).

     Mr. Donziger shall make the disclosures outlined above by

no later than October 26 at 9:00 a.m.       He shall file his subject

matter proffers ex parte and in camera and his proposed

procedures for ensuring the reliability of the video testimony

on the public docket.    The Government may respond to his




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proposed procedures by October 27 at 5:00 p.m., and Mr. Donziger

may reply by October 28 at 5:00 p.m.


SO ORDE:RE:D.

Dated:    October 22, 2020
          New York, New York


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                                           LORETTA A. PRESKA, U.S.D.J.




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